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                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF INDIANA
                                         HAMMOND DIVISION


 Samir Saleh
                                        Plaintiff,
 v.                                                         Civil Action No.: 2:18−cv−00289−JTM−JEM
                                                            Senior Judge James T Moody
 Evanston Insurance Company
                                        Defendant.


      NOTICE OF AVAILABILITY OF A UNITED STATES MAGISTRATE JUDGE TO EXERCISE
                                    JURISDICTION

    In accordance with the provisions of Title 28 U.S.C. § 636(c), Fed. R. Civ. P. 73, and Local Rule 72−1, a
 United States Magistrate Judge of this district court is available to conduct any or all proceedings in this case
 including a jury or nonjury trial, and to order the entry of a final judgment. Exercise of this jurisdiction by a
 magistrate judge is, however, permitted only if all parties voluntarily consent.

    Because of the dramatic increase in the number of criminal cases in recent years, the district judges give
 priority to the criminal docket as required by law. Under these circumstances, your case can experience delay,
 which can result in cost increases, before it can be tried by the district judge. Congress' enactment of the Civil
 Justice Reform Act requires the Court to give increased attention to addressing costs and delays in resolving
 civil disputes. The Judicial Conference of the United States encourages the designation of magistrate judges to
 conduct all proceedings in civil cases, both jury and non−jury. Consent to a magistrate judge will ensure an
 earlier and firm trial date. Therefore, the parties are encouraged to consent to Jurisdiction by United States
 Magistrate Judge by filling out the form set forth below.

    You may, without adverse substantive consequences, withhold your consent, but this will prevent the
 court's jurisdiction from being exercised by a magistrate judge. If any party withholds consent, the identity of
 the parties consenting or withholding consent will not be communicated to any magistrate judge or to the
 district judge to whom the case has been assigned.

    An appeal from a judgment entered by a magistrate judge shall be taken directly to the United States Court
 of Appeals for this judicial circuit in the same manner as an appeal from any other judgment of a district court.

      CONSENT TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE
                                      JUDGE

     In accordance with the provisions of 28 U.S.C. § 636(c), Fed. R. Civ. P. 73, and Local Rule 72−1, the
 parties in this case hereby voluntarily consent to have a United States Magistrate Judge conduct all further
 proceedings in this case, including trial, entry of a final judgment, and all post−judgment proceedings. Should
 this case be reassigned from one magistrate judge to another due to caseload considerations, recusal,
 retirement or any other reason, the undersigned may object within 30 days of such reassignment.

        Print and Sign                         List all Parties Represented                            Date




 NOTE: RETURN THIS FORM VIA EMAIL TO THE CLERK OF THE COURT AT THE APPROPRIATE
    EMAIL ADDRESS SHOWN BELOW WITHIN 21 DAYS AFTER THE INITIAL PRELIMINARY
                             PRETRIAL CONFERENCE.

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      To return this form via U.S. Mail, please refer to http://www.innd.uscourts.gov for mailing addresses.
